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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                              SAN JOSE DIVISION
                                  Honorable Edward J. Davila
                                    Courtroom 1 - 5th Floor

                         TITLE: USA v. OLE HOUGEN
                        CASE NUMBER: 20-cr-00432-EJD
                                 Minute Order and Trial Log
Date: 4/9/2021
Time in Court: 9:13-11:02 am, 11:20-12:06pm,1:56-2:06,2:13-2:20pm
(TOTAL time: 2 hrs. 52 mins.)
Courtroom Deputy Clerk: Adriana M. Kratzmann
Court Reporter: Ruth Ekhaus
______________________________________________________________________________
APPEARANCES:
Plaintiff Attorney(s) present: Marissa Harris, Michael Songer
Also present: Agents Elizabeth Green and Kyle Biebesheimer
Defendant Attorney(s) present: Severa Keith, Tamara Crepet
Also present: Ole Hougen (In-custody)
______________________________________________________________________________
PROCEEDINGS: Jury Trial (Day 6)

Jury returned a verdict of guilty. The Court ordered the matter referred to the probation
office for preparation of a pre-sentence report. Sentencing hearing set for July 26, 2021 at
1:30 p.m.

Please see trial log attached.


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The following exhibits are admitted into evidence:
Plaintiffs: N/A
Defendants: N/A




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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                        HONORABLE EDWARD J. DAVILA

                         Case Name: USA v. Ole Hougen
                            Case No: 5:20cr00432EJD

                                   TRIAL LOG

TRIAL DATE: 4/9/2021          REPORTER(S):                          CLERK:
                              Ruth Ekhaus                           Adriana M. Kratzmann

PLF   DEFT    TIME      DESCRIPTION


             9:13 am    Jury seated. Court in session with counsel and defendant

             9:13 am    Government’s closing argument begins by AUSA Michael Songer

             9:45 am    Defense closing argument begins by FPD Severa Keith

             11:02 am   Court takes recess

             11:20 am   Government’s rebuttal closing argument begins by AUSA Marissa
                        Harris
             11:35 am   Court reads jury instructions to the jury

             12:03pm    Court security officer sworn

             12:03pm    Jury excused for deliberations

             12:05pm    The Court admonished the alternates that they are on standby until a
                        verdict is reached
             12:06pm    Court off record

                        Jury taking lunch and to begin deliberations at 12:45 pm

             1:56 pm    Court in session outside presence of Jury with counsel and defendant

             1:57 pm    Court summons’ jury and jury is seated

                        Court is in session with jury, counsel and defendant


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       2:00 pm   Verdict read by the court. Jury polled and unanimous verdict rendered

       2:01 pm   Court ordered the verdict of guilty be recorded

       2:05 pm   Court releases jury from their jury service

       2:06 pm   Court takes recess

       2:13 pm   Court in session with counsel and defendant

                 Referral to probation office for preparation of a pre-sentence report

                 Sentencing set for July 26, 2021 at 1:30 pm

       2:20 pm   Court adjourned. Jury trial concluded




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